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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

      v.                                                     DECISION AND ORDER
                                                                10-CR-239S (4)
LORENZO HUNT,

                    Defendant.



                                   I. INTRODUCTION

      Presently before this Court is Defendant Lorenzo Hunt’s third motion in limine

seeking preclusion of evidence, or in the alternative, severance from co-defendant DeMario

Stewart. (Docket No. 650.) For the reasons that follow, Hunt’s motion is denied.

                                   II. BACKGROUND

      The government alleges that Johnny Rounds is the leader of a violent criminal

enterprise—the “Rounds Crew”—that conspired to engage in drug-trafficking and violent

criminal activity in the Broadway Market area of the City of Buffalo, NY. Lorenzo Hunt and

his co-defendants are allegedly members of the Rounds Crew.

      In 2009, the Rounds Crew began feuding with a rival group known as the “LRGP

gang,” which was trafficking drugs several blocks from where the Rounds Crew operated.

The feud escalated when members of the LRGP gang allegedly broke into a Rounds Crew

stash house and stole drugs, cash, jewelry, and clothing. Johnny Rounds allegedly told

his crew that he wanted members of the LRGP dead in retaliation.

      Soon after, members of the Rounds Crew began seeking out and shooting at LRGP

members. LRGP members responded in kind. Amid the violence, three people were

murdered: Brandon Haugabook; Larry Crosland; and Shawn Kozma. Defendants are now
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variously charged in a superseding indictment with these three murders and numerous

drug-trafficking and firearms-related offenses.

                                      III. DISCUSSION

       Familiarity with the facts and underlying arguments is presumed.

       Hunt seeks an order precluding the government from offering into evidence a letter

written by co-defendant DeMario Stewart to government witness A.T. In the letter, Stewart

makes several incriminating statements and further writes, presumably in reference to

these criminal proceedings, that “I think the only person that can really get crushed is Zo.”

(Docket No. 650-1, p. 3.) “Zo” is allegedly a reference to Hunt. Hunt seeks preclusion of

the letter under Bruton, or alternatively, severance from Stewart on the basis that the

introduction of the letter into evidence will create unfair spillover from Stewart to Hunt. The

government opposes both requests for relief.

       In Bruton, the United States Supreme Court held that the admission of a non-

testifying co-defendant’s confession that implicates other co-defendants violates the Sixth

Amendment’s confrontation clause. Bruton v. United States, 391 U.S. 123, 88 S.Ct. 1620,

20 L.Ed.2d 476 (1968); see also United States v. Jass, 569 F.3d 47, 55 (2d Cir. 2009)

(“The crux of [the Confrontation Clause] is that the government cannot introduce at trial

statements containing accusations against the defendant unless the accuser takes the

stand against the defendant and is available for cross examination.”). Preclusion, however,

is not required when the statement can be sufficiently sanitized through redaction. Jass,

569 F.3d at 61.

              Redactions and substitutions can avoid Bruton error if the
              altered statement uses words “that might actually have been

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              said by a person admitting his own culpability in the charged
              conspiracy while shielding the specific identity of his
              confederate.” Along these lines, we have previously allowed
              proper names to be replaced with the following terms (among
              others): “another person,” “others,” “other people,” and
              “another person,”; the pronoun “he,”; “this guy,” “another guy,”
              and “similar language,”; and “friend.”

United States v. Taylor, 745 F.3d 15, 28-29 (2d Cir. 2014) (citations omitted).

       Here, the government represents that it will redact any mention of “Zo” and any

other names or nicknames of the defendants before offering the letter into evidence.

(Docket No. 656, p. 2.) The government is aware of its obligations in this regard, and this

Court has previously recognized the government’s pledge not to create Bruton issues. See

United States v. Rounds, 10-CR-239S, 2015 WL 5918372, at *4 (W.D.N.Y. Oct. 9, 2015).

Although Hunt may disagree whether redactions will be effective, it is premature to rule on

this issue with the government yet having offered any statements or redactions. Again, all

counsel are on notice to avoid causing Bruton issues. See id. This Court will resolve any

further Bruton issues at trial. Hunt’s motion to preclude Stewart’s letter to A.T. is denied.

       Hunt’s alternative request for severance from Stewart is also denied. Multiple

defendants may properly be joined in an indictment or information “if they are alleged to

have participated in the same act or transaction, or in the same series of acts or

transactions, constituting an offense or offenses.” FED. R. CRIM. P. 8(b). But even if

properly joined, defendants may be severed if joinder results in prejudice to a defendant

or the government. FED. R. CRIM. P. 14(a). In such a case, the court may provide any

relief that justice requires, including ordering separate trials of counts or severing the

defendants’ trials. Id. But “a district court should grant a severance under Rule 14 only if


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there is a serious risk that a joint trial would compromise a specific trial right of one of the

defendants, or prevent the jury from making a reliable judgment about guilt or innocence.”

Zafiro v. United States, 506 U.S. 534, 539, 113 S.Ct. 933, 122 L.Ed.2d 317 (1993).

         At this time, Hunt has not demonstrated prejudice arising from introduction of the

letter into evidence that “would be so great as to deprive him of his right to a fair trial,”

particularly given that the letter will be redacted to avoid Bruton error. United States v.

Casamento, 887 F.2d 1141, 1149 (2d Cir. 1989). Moreover, there is no indication that the

introduction of this letter—which with proper redactions will principally implicate Stewart—

will prevent the jury from returning a reliable verdict against Hunt. Consequently, this Court

finds no cause to sever Hunt’s trial from Stewart’s based on possible spillover prejudice.

Hunt’s motion for severance is therefore denied.

                                     IV. CONCLUSION

         For the reasons stated above, Hunt’s third motion in limine is denied.

                                        V. ORDERS

         IT HEREBY IS ORDERED, that Defendant Lorenzo Hunt’s Third Motion in Limine

(Docket No. 650) is DENIED.

         SO ORDERED.


Dated:         October 26, 2015
               Buffalo, New York


                                                             /s/William M. Skretny
                                                             WILLIAM M. SKRETNY
                                                            United States District Judge




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